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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
 JRS/PC/MC                                            271 Cadman Plaza East
 F. #2016R00695                                       Brooklyn, New York 11201


                                                      January 16, 2025

 By ECF

 The Honorable Nicholas G. Garaufis
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Manuel Chang
                        Criminal Docket No. 18-681 (S-3) (NGG)

 Dear Judge Garaufis:

                The government respectfully submits this letter, pursuant to the Court’s
 January 15, 2025 order, in response to the defendant’s January 15, 2025 letter. See ECF No. 766
 (“Def. Letter”).

                 The government notes at the outset that it is unfortunate that the defendant chose
 to wait until approximately 40 hours before the sentencing to file its letter. Virtually every
 argument in the letter is a response to the government’s arguments set forth in the government’s
 sentencing memorandum and responses to the defendant’s objections to the presentence
 investigation report, both of which were filed on November 13, 2024, over two months ago.
 There is no apparent reason why these arguments could not have been included in the
 defendant’s original sentencing memorandum, which was filed on November 19, 2024, let alone
 raised in the two months since. It is also unclear why the letter was filed under seal — the letter
 contains no sensitive information and contains no argument or explanation for why sealing is
 appropriate — and it is equally puzzling that the letter was not provided to the government until
 after the government contacted the Court and defense counsel to ask for a copy. Whether or not
 these tactics were attempts at gamesmanship, the effect is to hamper the government’s ability to
 fully respond to the arguments in the letter and deprive the Court of the ability to fully consider
 the merits prior to sentencing. Such conduct should be strongly discouraged.

                In any event, as set forth below, the defendant’s arguments are meritless. Rather
 than engaging with the law or the facts, the defendant merely repeats arguments that the Court
 and the jury have already decisively rejected. The defendant’s arguments should therefore be
 rejected once again.
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                I.      Reliance on Gain to Calculate the Guidelines is Appropriate

                 The defendant argues that the government has not shown any loss as a result of
 the defendant’s fraudulent scheme. See Def. Letter 1. As the Court has previously held, the
 government proved at trial that “the presence of the anti-corruption provisions in the Facility
 Agreements was critical to [investors’] ultimate decision on whether to lend money for the
 Projects,” United States v. Chang, No. 18-CR-681 (NGG), 2024 WL 4766371, at *8 (E.D.N.Y.
 Nov. 13, 2024), and that as a result of the defendant’s fraud and corruption, “the investors did
 not get what they bargained for because the evidence demonstrates that the Investors desired a
 corruption-free investment,” id. at *7. Under Second Circuit law, pecuniary loss necessarily
 exists where a victim is deprived of the terms and specifications it bargained for. See United
 States v. Canova, 412 F.3d 331, 352 (2d Cir. 2005) (“When a party fraudulently procures
 payment for goods or services by representing that they were produced or provided according to
 certain specifications, it is not the task of a sentencing court to second-guess the victim’s
 judgment as to the necessity of those specifications. Whether the testing time on a pacemaker,
 the number of rivets on an airplane wing, or the coats of paint on a refurbished building is a
 matter of necessity or whim, the fact remains that the victim has been induced to pay for
 something that it wanted and was promised but did not get, thereby incurring some measure of
 pecuniary ‘loss.’”). The defendant’s argument that no loss occurred therefore fails.

                  Indeed, multiple victims testified at trial that they lost millions of dollars as a
 result of their being fraudulently induced to invest in the loans at issue. See Tr. 1055-56
 (testimony by Leemhuis that VTB lost hundreds of millions of dollars); Tr. 1810-11 (testimony
 by Kaplan regarding NWI’s losses); see also GX 313 (MAM default letter reflecting VTB’s
 losses); GX 610, 610A (charts showing Alliance Bernstein losses);; GX 761 (chart showing NWI
 losses). The defendant’s claim that these losses were not caused by the fraud (Def. Letter 1-2)
 ignore the fact that these investors would not have lent money to the projects at all if they had
 not been defrauded about the corrupt nature of the Mozambican projects and the bribes paid to
 officials like the defendant. See Chang, 2024 WL 4766371, at *8-9 (citing testimony by
 Santamaria and Kaplan); see also Tr. 982-983 (testimony of Leemhuis). Thus, absent the fraud,
 the victims would have incurred none of these losses, and every dollar of loss was caused by the
 fraud. See United States v. Turk, 626 F.3d 743, 748 (2d Cir. 2010) (in the case of a fraudulently
 obtained loan, “loss is the principal value of the loans [victims] made . . . which were never
 repaid”); see also United States v. Calderon, 944 F.3d 72, 96 n.12 (2d Cir. 2019) (“if the
 Defendants here had, say, misrepresented the value of collateral held by the foreign banks and
 those [foreign] banks had then defaulted on their loans, we would not hesitate to conclude that
 they ‘proximately caused’ the [domestic] banks’ losses, even if the [foreign] banks’ ability to
 repay the loans was also affected by market forces”); United States v. Paul, 634 F.3d 668, 677
 (2d Cir. 2011) (“[T]he loss to Merrill Lynch and Spear, Leeds was not caused by the decline in
 value of SLM stock but, rather, by the making of the loans in the first instance.”).

                The defendant’s reliance on United States v. Moran, 2024 WL 2577970
 (E.D.N.Y. May 24, 2024), is unavailing. As the Court is well aware, in Moran, the government
 had argued that a cooperator should be responsible for loss that had not been included in his co-
 conspirators’ loss calculation and for which the government offered no reliable evidence. See id.
 at *5-7. Here, as discussed above, the government established the existence of loss through
 testimony of several witnesses and documents admitted at trial.


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                    To be sure, the government has not endeavored to calculate the exact amount of
 loss. Instead, the government has taken the conservative approach of advocating for calculating
 loss based on the defendant’s gain — $7 million — a figure that is certainly below the losses
 suffered by the investors (and indeed is less than the losses suffered by either VTB or Alliance
 Bernstein alone). The defendant’s complaint about the use of this lower figure is baffling. See
 Def. Letter 2. In any event, the use of gain is entirely permissible. Under the applicable
 Guidelines, the Court “shall use the gain that resulted from the offense as an alternative measure
 of loss . . . if there is a loss but it reasonably cannot be determined.” See U.S.S.G. § 2B1.1(b)(1)
 notes to table (B). Here, there was a loss, and its full calculation cannot be reasonably
 determined because of the number of investors and the complexity of the scheme, among other
 reasons. Use of gain is therefore appropriate. See United States v. Tzolov, 435 F. App’x 15, 17
 (2d Cir. 2011) (“Judge Weinstein found that Appellant inflicted pecuniary loss on his victims,
 but that the amount of loss could not reasonably be determined. Therefore, he appropriately used
 the gain realized by Appellant . . . as an alternative measure of loss pursuant to the Guidelines
 provision quoted above.”).

                 Finally, the defendant’s claim that he did not gain anything because all of the
 bribe payments went to Luis Brito is nothing more than yet another denial of the evidence at trial
 and the jury’s verdict. See Def. Letter 2. The government proved, and the jury necessarily
 found, that the payments to Brito were bribe payments to the defendant that were put in Brito’s
 name as a means to launder the funds. See Chang, 2024 WL 4766371, at *12 (“[T]he jury had
 ample evidence to infer that the reason why Privinvest was sending money to accounts controlled
 by Chang’s associate Brito — who otherwise was not involved in the Projects whatsoever —
 was to launder the payments to Chang from the loan proceeds.”). The defendant’s argument that
 he did not gain because Brito paid $7 million to Mozambique after the defendant was indicted
 fares no better. See Def. Letter 2. The Guidelines are clear that payments to victims made after
 the fraud is uncovered do not provide any set-off for the loss calculation. See U.S.S.G. § 2B1.1
 3(D)(i).

                 Accordingly, the defendant’s arguments against the use of his $7 million gain to
 calculate loss all fail.

                II.     There Were 10 or More Victims

                  The defendant argues that there were not 10 or more victims because, according
 to the defendant, there were no victims because no one suffered any loss. See Def. Letter 2. As
 discussed above, this premises is flawed, as every person who invested on the basis of materially
 false terms suffered some amount of pecuniary loss. See Canova, 412 F.3d at 352. Moreover,
 the evidence at trial showed that VTB Capital and Alliance Bernstein, whose losses were proven
 at trial, invested on behalf of over 10 clients, who themselves suffered losses. See ECF No. 755
 (“Gov. Sent’g Mem.”) 8 (citing exhibits). The defendant’s claims that no one lost money thus
 fail (again).

                As to the number of victims, the defendant does not appear to contest that there
 were more than 10 investors, nor could he. See Gov. Sent’g Mem. 8 (discussing number of
 victims and citing exhibits). The defendant’s argument that there were not 10 or more victims is
 therefore meritless.


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                III.    An Enhancement for Conduct Outside of the United States Applies

                 The Guidelines call for a 2-point enhancement where “a substantial part of a
 fraudulent scheme was committed from outside the United States.” U.S.S.G. § 2B1.1(b)(10)(B).
 The defendant does not attempt to dispute that this enhancement applies based on its plain
 language. Nevertheless, he argues that it should not apply to foreign nationals. See Def. Letter
 3. The sole case the defendant cites in support of this argument is United States v. Hussain, No.
 16-CR-462 (CRB), 2019 WL 1995764 (N.D. Cal. May 6, 2019), aff’d, 818 F. App’x 765 (9th
 Cir. 2020). But the defendant notably fails to mention that Hussain actually rejected this precise
 argument, holding that “the text draws no distinction between domestically-domiciled defendants
 who commit their crimes abroad and foreign defendants who commit their crimes from their
 home countries.” Id. at *2. The Hussain court further explained that applying the enhancement
 to foreign nationals is consistent with the provision’s purpose, as “it is the fact that ‘a substantial
 part of the fraudulent scheme was committed from outside the United States,’ not the intent of
 the defendant in doing so, that ‘makes it difficult for law enforcement authorities to discover the
 offense or apprehend the offender.’” (quoting U.S. Sent’g Comm’n, Amendments to the
 Sentencing Guidelines 7 (May 18, 1998)). The defendant’s argument is thus utterly without
 legal support and contrary to applicable caselaw.

                 Because this enhancement applies pursuant to U.S.S.G. § 2B1.1(b)(10)(B), the
 Court need not address whether it would also apply under § 2B1.1(b)(10)(C), which applies
 where “the offense otherwise involved sophisticated means and the defendant intentionally
 engaged in or caused the conduct constituting sophisticated means.” Nevertheless, toi the extent
 the Court addresses it, that provision applies as well. The defendant does not appear to dispute
 that the offense involved sophisticated means — including complex structures and terms
 designed to obscure disclosure — but claims that this sophistication was unrelated to his criminal
 conduct and that the defendant did not engage in the sophisticated conduct. See Def. Letter 3-4.
 That claim ignores that the evidence showed that the projects involved corruption from the very
 beginning and that the defendant was a key participant in structuring the projects, including their
 sophisticated elements. See Chang, 2024 WL 4766371, at *10 (“Chang played an integral role in
 structuring and negotiating the loan deals.”).

               Accordingly, the defendant’s arguments against the 2-point enhancement under
 § 2B1.1(b)(10) should be rejected.

                IV.     No Downward Departure is Warranted

                The defendant argues that the Court should apply a downward departure if the
 Court applies enhancements under both U.S.S.G. §§ 2B1.1(b)(10) and 2S1.1(b)(3). See Def.
 Letter 4. The defendant cites no caselaw holding that such a departure is warranted but, rather,
 cites only one case for the general proposition that a court may, in its discretion, apply a
 downward departure, when “cumulation of substantially overlapping enhancements, [are]
 imposed upon a defendant whose adjusted offense level translates to a high sentencing range.”
 United States v. Abiodun, 536 F.3d 162, 170 (2d Cir. 2008). Here, where both enhancements
 separately apply for independent reasons — the foreign conduct warranting the § 2B1.1
 enhancement and the complex money laundering warranting the § 2S1.1 enhancement — the
 government submits that the enhancements do not overlap and no departure is warranted. See


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 Gov. Sent’g Mem. 11 n.9. To hold otherwise would effectively reward defendants who chose to
 engage in complex money laundering conduct substantially outside the United States.

                V.      The Court Should Defer Calculation of Restitution

                  The defendant states that the Probation Department has not provided him with
 certain victim affidavits and that the Court should not impose restitution at this time. See Def.
 Letter 4-5. Notably, the two PSR addenda addressing restitution were not disclosed until
 January 7, 2025 and January 13, 2025. In light of the factual disputes raised by the defendant
 and the limited time since disclosure, the government agrees that the Court should not impose
 restitution at this time and should instead defer final determination of the victims’ losses until a
 later date, not to exceed 90 days after sentencing. See 18 U.S.C. § 3664(d)(5).

                VI.     Forfeiture of Money Paid to Brito’s Accounts is Mandatory

                 The defendant argues that he should not be required to forfeit the $7 million in
 bribe payments to him because he laundered those payments through an account in someone
 else’s name. See Def. Letter 5. Putting aside the entire lack of equity in this argument, it is
 legally irrelevant. Pursuant to 18 U.S.C. § 981(a)(1)(A), “[a]ny property, real or personal,
 involved in a transaction or attempted transaction in violation of section 1956 . . . or any property
 traceable to such property” is subject to forfeiture, and under 18 U.S.C. § 982(a)(1), “[t]he court,
 in imposing sentence on a person convicted of an offense in violation of section 1956 . . . shall
 order that the person forfeit to the United States any property, real or personal, involved in such
 offense, or any property traceable to such property.” Whether or not the defendant ever received
 the money, the $7 million of payments from Privinvest to Brito’s accounts were involved in a
 money laundering transaction and are subject to forfeiture. Moreover, the defendant must be
 ordered to pay a money judgment equal to that amount because, as a result of his actions, those
 funds have “been transferred or sold to, or deposited with, a third party [i.e., Brito]” and “been
 placed beyond the jurisdiction of the court [i.e., in accounts in Spain and Switzerland].”
 21 U.S.C. § 853(p)(1)(B), (C).

                The defendant argues that the transfer of the funds to Brito were not the result of
 any act by him. See Def. Letter 5. But the evidence was to the contrary, as the jury found. See
 Chang, 2024 WL 4766371, at *11-12 (summarizing evidence of the defendant’s involvement in
 the conspiracy to launder money through Brito’s accounts). Moreover, while Brito later sent
 $7 million to Mozambique, the defendant cites no law — and the government is aware of none
 — suggesting that a payment by another individual to a foreign country has any impact on the
 defendant’s forfeiture obligations under U.S. law.

                In any event, even if forfeiture were not mandated under the money laundering
 provisions, the $7 million in payments to the defendant must be forfeited as proceeds of the wire
 fraud scheme and the money laundering scheme. “[T]he term ‘proceeds’ means property of any
 kind obtained directly or indirectly, as the result of the commission of the offense giving rise to
 forfeiture.” 18 U.S.C. § 981(b)(2)(A) (emphasis added). Thus, where a defendant obtains
 proceeds through an intermediary — such as a shell company or a straw account holder — the
 defendant is required to forfeit the proceeds just as if he had obtained them directly. See
 Honeycutt v. United States, 581 U.S. 443, 450 (2017) (“For instance, the marijuana mastermind


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 might receive payments directly from drug purchasers, or he might arrange to have drug
 purchasers pay an intermediary such as the college student. In all instances, he ultimately
 ‘obtains’ the property — whether ‘directly or indirectly.’”). Forfeiture of $7 million is therefore
 mandatory.

                VII.    Conclusion

               For the reasons set forth above, except for the defendant’s request to defer
 determination of restitution, all of the defendant’s arguments are without merit.

                                                      Respectfully submitted,

                                                      CAROLYN POKORNY
                                                      Acting United States Attorney

                                               By:     /s/
                                                      Hiral Mehta
                                                      Jonathan Siegel
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000

                                                      GLENN S. LEON
                                                      Chief, Fraud Section
                                                      Criminal Division
                                                      U.S. Dept. of Justice

                                               By:     /s/
                                                      Peter L. Cooch
                                                      Trial Attorney
                                                      (202) 924-6259

                                                      MARGARET A. MOESER
                                                      Acting Chief, Money Laundering & Asset
                                                      Recovery Section
                                                      Criminal Division
                                                      U.S. Department of Justice


                                               By:     /s/
                                                      Morgan J. Cohen
                                                      Trial Attorney
                                                      (202) 616-0116


 cc:    All counsel of records (by ECF)




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